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                           UNITED STATES DISTRICT COURT
   8                      CENTRAL DISTRICT OF CALIFORNIA
   9    KB HOME,
  10                  Plaintiff,
  11         v.                                Case No. 2:24-CV-4153-CBM (MAAx)
  12    KINGSBARN REALTY CAPITAL,    STIPULATED PROTECTIVE
  13
        LLC; KB EXCHANGE PROPERTIES, ORDER
        LLC; KINGSBARN REAL ESTATE
  14
        CAPITAL, LLC; KB PROPERTY
        ADVISORS, INC.; and KB
  15
        PROPERTY ADVISORS, LLC,

  16
                      Defendants.

  17
        KINGSBARN REALTY CAPITAL,
  18    LLC; KB EXCHANGE PROPERTIES,
  19
        LLC; KINGSBARN REAL ESTATE
        CAPITAL, LLC; KB PROPERTY
  20    ADVISORS, INC; and KB
  21
        PROPERTY ADVISORS, LLC,,
                   Counterclaim-Plaintiffs,
  22
             v.
  23
        KB HOME,
  24
                   Counterclaim-Defendant.
  25
       1.   PURPOSES AND LIMITATIONS
  26
            Discovery in this action is likely to involve production of confidential,
  27
       proprietary, or private information for which special protection from public
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   1   disclosure and from use for any purpose other than prosecuting this litigation may be
   2   warranted. Accordingly, the parties hereby stipulate to and petition the Court to enter
   3   the following Stipulated Protective Order. The parties acknowledge that this
   4   Stipulated Protective Order does not confer blanket protections on all disclosures or
   5   responses to discovery and that the protection it affords from public disclosure and
   6   use extends only to the limited information or items that are entitled to confidential
   7   treatment under the applicable legal principles. The parties further acknowledge, as
   8   set forth in Section 13.3 below, that this Stipulated Protective Order does not entitle
   9   them to file confidential information under seal; Local Rule 79-5 sets forth the
  10   procedures that must be followed and the standards that will be applied when a party
  11   seeks permission from the Court to file material under seal.
  12   2.    GOOD CAUSE STATEMENT
  13         This action is likely to involve the exchange of documents, information, and
  14   things in discovery that contain confidential, proprietary, or private information.
  15   Such information includes, but is not limited to, confidential business or financial
  16   information, confidential customer information, information regarding confidential
  17   business practices, or other confidential research, development, or commercial
  18   information (including information implicating privacy rights of third parties),
  19   information otherwise generally unavailable to the public, or which may be
  20   privileged or otherwise protected from disclosure under state or federal statutes, court
  21   rules, case decisions, or common law. Accordingly, to expedite the flow of
  22   information, to facilitate the prompt resolution of disputes over confidentiality of
  23   discovery materials, to adequately protect information the parties are entitled to keep
  24   confidential, to ensure that the parties are permitted reasonable necessary uses of such
  25   material in preparation for and in the conduct of trial, to address their handling at the
  26   end of the litigation, and to serve the ends of justice, a protective order for such
  27   information is justified in this matter. It is the intent of the parties that information
  28   will not be designated as confidential for tactical reasons and that nothing will be so


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   1   designated without a good faith belief that it has been maintained in a confidential,
   2   non-public manner, and there is good cause why it should not be part of the public
   3   record of this case.
   4   3.     DEFINITIONS
   5          3.1.   Action: This pending federal lawsuit.
   6          3.2.   Challenging Party: A Party or Nonparty that challenges the designation
   7   of information or items under this Order.
   8          3.3.   “CONFIDENTIAL” Information or Items: Information (regardless of
   9   how it is generated, stored, or maintained) or tangible things that qualify for
  10   protection under Federal Rule of Civil Procedure 26(c), and as specified above in the
  11   Good Cause Statement.
  12          3.4.   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
  13   Information or Items: Information (regardless of how it is generated, stored, or
  14   maintained) or tangible things that qualify for protection under Federal Rule of Civil
  15   Procedure 26(c), and as specified above in the Good Cause Statement, and that also
  16   constitute: current or future business or technical trade secrets, commercial or
  17   financial information, or plans, the disclosure of which is likely to create a substantial
  18   risk of competitive harm, considering the roles of those with access to
  19   CONFIDENTIAL Information, or the disclosure of which would contravene an
  20   obligation of confidentiality to a third person or to a Court.
  21          3.5.   Counsel: Outside Counsel of Record and In-House Counsel (as well as
  22   their support staff).
  23          3.6.   Designating Party: A Party or Nonparty that designates information or
  24   items that it produces in disclosures or in responses to discovery as
  25   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  26   ONLY.”
  27          3.7.   Disclosure or Discovery Material: All items or information, regardless
  28   of the medium or manner in which it is generated, stored, or maintained (including,


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   1   among other things, testimony, transcripts, and tangible things), that are produced or
   2   generated in disclosures or responses to discovery in this matter.
   3         3.8.   Expert: A person with specialized knowledge or experience in a matter
   4   pertinent to the litigation who has been retained by a Party or its counsel to serve as
   5   an expert witness or as a consultant in this Action.
   6         3.9.   In-House Counsel: Attorneys who are employees of a party to this
   7   Action. In-House Counsel does not include Outside Counsel of Record or any other
   8   outside counsel.
   9         3.10. Nonparty: Any natural person, partnership, corporation, association, or
  10   other legal entity not named as a Party to this action.
  11         3.11. Outside Counsel of Record: Attorneys who are not employees of a party
  12   to this Action but are retained to represent or advise a party to this Action and have
  13   appeared in this Action on behalf of that party or are affiliated with a law firm which
  14   has appeared on behalf of that party, and includes support staff.
  15         3.12. Party: Any party to this Action, including all of its officers, directors,
  16   employees, consultants, retained experts, and Outside Counsel of Record (and their
  17   support staffs).
  18         3.13. Producing Party: A Party or Nonparty that produces Disclosure or
  19   Discovery Material in this Action.
  20         3.14. Professional Vendors:       Persons or entities other than Counsel that
  21   provide litigation support services (e.g., photocopying, videotaping, translating,
  22   preparing exhibits or demonstrations, and organizing, storing, or retrieving data in
  23   any form or medium) and their employees and subcontractors.
  24         3.15. Protected Material: Any Disclosure or Discovery Material that is
  25   designated    as   “CONFIDENTIAL”           or    “HIGHLY      CONFIDENTIAL          –
  26   ATTORNEYS’ EYES ONLY.”
  27         3.16. Receiving Party: A Party that receives Disclosure or Discovery Material
  28   from a Producing Party.


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   1   4.     SCOPE
   2          The protections conferred by this Stipulation and Order cover not only
   3   Protected Material, but also (1) any information copied or extracted from Protected
   4   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
   5   and (3) any testimony, conversations, or presentations by Parties or their Counsel that
   6   might reveal Protected Material.
   7          Any use of Protected Material at trial shall be governed by the orders of the
   8   trial judge. This Stipulated Protective Order does not govern the use of Protected
   9   Material at trial.
  10   5.     DURATION
  11          Even after final disposition of this litigation, the confidentiality obligations
  12   imposed by this Stipulated Protective Order shall remain in effect until a Designating
  13   Party agrees otherwise in writing or a court order otherwise directs. Final disposition
  14   shall be deemed to be the later of (1) dismissal of all claims and defenses in this
  15   Action, with or without prejudice; and (2) final judgment herein after the completion
  16   and exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  17   including the time limits for filing any motions or applications for extension of time
  18   pursuant to applicable law.
  19   6.     DESIGNATING PROTECTED MATERIAL
  20          6.1.   Exercise of Restraint and Care in Designating Material for Protection.
  21          Each Party or Nonparty that designates information or items for protection
  22   under this Stipulated Protective Order must take care to limit any such designation to
  23   specific material that qualifies under the appropriate standards. The Designating
  24   Party must designate for protection only those parts of material, documents, items,
  25   or oral or written communications that qualify so that other portions of the material,
  26   documents, items, or communications for which protection is not warranted are not
  27   swept unjustifiably within the ambit of this Order.
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   1         Mass, indiscriminate, or routinized designations are prohibited. Designations
   2   that are shown to be clearly unjustified or that have been made for an improper
   3   purpose (e.g., to unnecessarily encumber the case development process or to impose
   4   unnecessary expenses and burdens on other parties) may expose the Designating
   5   Party to sanctions.
   6         If it comes to a Designating Party’s attention that information or items that it
   7   designated for protection do not qualify for protection, that Designating Party must
   8   promptly notify all other Parties that it is withdrawing the inapplicable designation.
   9         6.2.   Manner and Timing of Designations.
  10         Except as otherwise provided in this Order (see, e.g., second paragraph of
  11   Section 6.2(a) below), or as otherwise stipulated or ordered, Disclosure or Discovery
  12   Material that qualifies for protection under this Stipulated Protective Order must be
  13   clearly so designated before the material is disclosed or produced.
  14         Designation in conformity with this Stipulated Protective Order requires the
  15   following:
  16                (a)      For information in documentary form (e.g., paper or electronic
  17   documents, but excluding transcripts of depositions or other pretrial or trial
  18   proceedings), that the Producing Party affix at a minimum, the legend
  19   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES
  20   ONLY,” to each page that contains protected material.
  21         A Party or Nonparty that makes original documents available for inspection
  22   need not designate them for protection until after the inspecting Party has indicated
  23   which documents it would like copied and produced. During the inspection and
  24   before the designation, all of the material made available for inspection shall be
  25   deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the
  26   inspecting Party has identified the documents it wants copied and produced, the
  27   Producing Party must determine which documents, or portions thereof, qualify for
  28   protection under this Stipulated Protective Order. Then, before producing the


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   1   specified documents, the Producing Party must affix the legend “CONFIDENTIAL”
   2   or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to each page that
   3   contains Protected Material.
   4                (b)    For testimony given in depositions, that the Designating Party
   5   designate transcripts or portions thereof as “CONFIDENTIAL” or “HIGHLY
   6   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” either (i) on the record during
   7   the deposition or (ii) by written notice to the reporter and all Outside Counsel of
   8   Record within twenty-one (21) days after the reporter notifies the Parties that the
   9   certified or final transcript is available for review. Pending such designation by
  10   counsel, the entire transcript, including exhibits, shall be deemed “HIGHLY
  11   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” If no designation is made within
  12   twenty-one (21) days after receipt of a certified or final transcript from the court
  13   reporter, the transcript shall be considered not to contain any Protected Material.
  14                (c)    For information produced in nondocumentary form, and for any
  15   other tangible items, that the Producing Party affix in a prominent place on the
  16   exterior of the container or containers in which the information is stored the legend
  17   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  18   ONLY.” If only a portion or portions of the information warrants protection, the
  19   Producing Party, to the extent practicable, shall identify the protected portion(s).
  20         6.3.   Inadvertent Failure to Designate.
  21         A Designating Party’s inadvertent failure to designate qualified information or
  22   items as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
  23   EYES ONLY” does not waive the Designating Party’s right to secure protection
  24   under this Order for such materials. If the Designating Party discovers that
  25   information should have been but was not appropriately designated as
  26   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  27   ONLY,” the Designating Party must promptly notify all other Parties in writing in
  28   order to secure protection under this Order. Upon notification, the Receiving Party


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   1   must make reasonable efforts to assure that the Designated Materials are treated in
   2   accordance with the provisions of this Stipulated Protective Order and updated
   3   designations by the Designating Party.
   4   7.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
   5         7.1.     Timing of Challenges.
   6         Any Party or Nonparty may challenge a designation of confidentiality at any
   7   time that is consistent with the Court’s Scheduling Order.
   8         7.2.     Meet and Confer.
   9                  The Challenging Party shall initiate the dispute resolution process,
  10   which shall comply with Local Rule 37.1 et seq., and with Section 4 of Judge
  11   Audero’s Procedures (“Mandatory Telephonic Conference for Discovery
  12   Disputes”).1
  13         7.3.     Burden of Persuasion.
  14         The burden of persuasion in any such challenge proceeding shall be on the
  15   Designating Party. Frivolous challenges, and those made for an improper purpose
  16   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
  17   expose the Challenging Party to sanctions. Unless the Designating Party has waived
  18   or withdrawn the confidentiality designation, all parties shall continue to afford the
  19   material in question the level of protection to which it is entitled under the Producing
  20   Party’s designation until the Court rules on the challenge.
  21   8.    ACCESS TO AND USE OF PROTECTED MATERIAL
  22         8.1.     Basic Principles.
  23         A Receiving Party may use Protected Material that is disclosed or produced by
  24   another Party or by a Nonparty in connection with this Action only for prosecuting,
  25   defending, or attempting to settle this Action. Such Protected Material may be
  26   disclosed only to the categories of persons and under the conditions described in this
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        Judge Audero’s Procedures are available at
       https://www.cacd.uscourts.gov/honorable-maria-audero.

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   1   Stipulated Protective Order. When the Action reaches a final disposition, a Receiving
   2   Party must comply with the provisions of Section 14 below.
   3         Protected Material must be stored and maintained by a Receiving Party at a
   4   location and in a secure manner that ensures that access is limited to the persons
   5   authorized under this Stipulated Protective Order.
   6         8.2.   Disclosure of “CONFIDENTIAL” Information or Items.
   7         Unless otherwise ordered by the Court or permitted in writing by the
   8   Designating Party, a Receiving Party may disclose any information or item
   9   designated “CONFIDENTIAL” only to:
  10                (a)   The Receiving Party’s Outside Counsel of Record in this Action,
  11   as well as employees of said Outside Counsel of Record to whom it is reasonably
  12   necessary to disclose the information for this Action;
  13                (b)   The officers, directors, and employees (including In-House
  14   Counsel) of the Receiving Party to whom disclosure is reasonably necessary for this
  15   Action;
  16                (c)   Experts of the Receiving Party to whom disclosure is reasonably
  17   necessary for this Action and who have signed the “Acknowledgment and Agreement
  18   to Be Bound” (Exhibit A);
  19                (d)   The Court and its personnel;
  20                (e)   Court reporters, stenographers, videographers, and their
  21   respective staff, and any other persons preparing transcripts of depositions or
  22   hearings;
  23                (f)   Professional jury or trial consultants, mock jurors, and
  24   Professional Vendors to whom disclosure is reasonably necessary for this Action and
  25   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  26                (g)   The author or recipient of a document containing the information
  27   or a custodian or other person who otherwise possessed or knew the information so
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   1   long as it is stated on the face of each document being disclosed that the witness to
   2   whom a party is seeking to disclose the document is such a person;
   3                  (h)   During their depositions, fact witnesses in the Action, and
   4   attorneys for such witnesses, to whom disclosure is reasonably necessary And who
   5   have signed the “Acknowledgement and Agreement to Be Bound” (Exhibit A),
   6   subject to any objection by the Designating Party. Such fact witnesses shall not retain
   7   any CONFIDENTIAL Information disclosed to them during their deposition, but
   8   they may review a copy of all exhibits marked at their deposition in connection with
   9   their review of the deposition transcript.; and
  10                  (i)   Any mediator or settlement officer, and their supporting
  11   personnel, mutually agreed upon by any of the parties engaged in settlement
  12   discussions.
  13         8.3.     Disclosure of “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES
  14   ONLY” Information or Items.
  15         Unless otherwise ordered by the Court or permitted in writing by the
  16   Designating Party, a Receiving Party may disclose information or items designated
  17   “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES ONLY” only to:
  18                  (a)   The Receiving Party’s Outside Counsel of Record in this Action,
  19   as well as employees of said Outside Counsel of Record to whom it is reasonably
  20   necessary to disclose the information for this Action;
  21                  (b)   Any Experts of the Receiving Party to whom disclosure is
  22   reasonably necessary for this Action and who has signed the “Acknowledgment and
  23   Agreement to Be Bound” (Exhibit A);
  24                  (c)   The Court and its personnel;
  25                  (d)   Court reporters, stenographers, videographers, their respective
  26   staff, and any other persons preparing transcripts of depositions or hearings;
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   1                  (e)   Professional jury or trial consultants, mock jurors, and
   2   Professional Vendors to whom disclosure is reasonably necessary for this Action and
   3   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   4                  (f)   The author or recipient of a document containing the information
   5   or a custodian or other person who otherwise possessed or knew the information so
   6   long as it is stated on the face of each document being disclosed that the witness to
   7   whom a party is seeking to disclose the document is such a person; and
   8                  (g)   Any mediator or settlement officer, and their supporting
   9   personnel, mutually agreed upon by any of the parties engaged in settlement
  10   discussions.
  11   9.    PROTECTED            MATERIAL         SUBPOENAED              OR   ORDERED
  12         PRODUCED IN OTHER LITIGATION
  13         If a Party is served with a subpoena or a court order issued in other litigation
  14   that compels disclosure of any information or items designated in this Action as
  15   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES
  16   ONLY,” that Party must:
  17                  (a)   Promptly notify in writing the Designating Party. Such
  18   notification shall include a copy of the subpoena or court order;
  19                  (b)   Promptly notify in writing the party who caused the subpoena or
  20   order to issue in the other litigation that some or all of the material covered by the
  21   subpoena or order is subject to this Stipulated Protective Order. Such notification
  22   shall include a copy of this Stipulated Protective Order; and
  23                  (c)   Cooperate with respect to all reasonable procedures sought to be
  24   pursued by the Designating Party whose Protected Material may be affected.
  25         If the Designating Party timely seeks a protective order, the Party served with
  26   the subpoena or court order shall not produce any information designated in this
  27   action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
  28   EYES ONLY” before a determination by the court from which the subpoena or order


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   1   issued, unless the Party has obtained the Designating Party’s permission. The
   2   Designating Party shall bear the burden and expense of seeking protection in that
   3   court of its confidential material and nothing in these provisions should be construed
   4   as authorizing or encouraging a Receiving Party in this Action to disobey a lawful
   5   directive from another court.
   6   10.   A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
   7         PRODUCED IN THIS LITIGATION
   8         10.1. Application.
   9         The terms of this Stipulated Protective Order are applicable to information
  10   produced by a Nonparty in this Action and designated as “CONFIDENTIAL” or
  11   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Such information
  12   produced by Non-Parties in connection with this litigation is protected by the
  13   remedies and relief provided by this Stipulated Protective Order. Nothing in these
  14   provisions should be construed as prohibiting a Nonparty from seeking additional
  15   protections.
  16         10.2. Notification.
  17         In the event that a Party is required, by a valid discovery request, to produce a
  18   Nonparty’s confidential information in its possession, and the Party is subject to an
  19   agreement with the Nonparty not to produce the Nonparty’s confidential information,
  20   then the Party shall:
  21                  (a)   Promptly notify in writing the Requesting Party and the Nonparty
  22   that some or all of the information requested is subject to a confidentiality agreement
  23   with a Nonparty;
  24                  (b)   Promptly provide the Nonparty with a copy of the Stipulated
  25   Protective Order in this Action, the relevant discovery request(s), and a reasonably
  26   specific description of the information requested; and
  27                  (c)   Make the information requested available for inspection by the
  28   Nonparty, if requested.


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   1         10.3. Conditions of Production.
   2         If the Nonparty fails to seek a protective order from this Court within twenty-
   3   one 21 days of receiving the notice and accompanying information, the Receiving
   4   Party may produce the Nonparty’s confidential information responsive to the
   5   discovery request. If the Nonparty timely seeks a protective order, the Receiving
   6   Party shall not produce any information in its possession or control that is subject to
   7   the confidentiality agreement with the Nonparty before a determination by the Court.
   8   Absent a court order to the contrary, the Nonparty shall bear the burden and expense
   9   of seeking protection in this Court of its Protected Material.
  10   11.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  11         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  12   Protected Material to any person or in any circumstance not authorized under this
  13   Stipulated Protective Order, the Receiving Party must immediately: (1) notify in
  14   writing the Designating Party of the unauthorized disclosures; (2) use its best efforts
  15   to retrieve all unauthorized copies of the Protected Material; (3) inform the person or
  16   persons to whom unauthorized disclosures were made of all the terms of this
  17   Stipulated Protective Order, (4) request such person or persons not to further
  18   disseminate the Protected Material in any form; and (5) request such person or
  19   persons to execute the “Acknowledgement and Agreement to Be Bound” (Exhibit
  20   A). Compliance with the foregoing shall not prevent either party from seeking
  21   additional relief from the Court.
  22   12.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  23         PROTECTED MATERIAL
  24         12.1. No Waiver.
  25         Consistent with Federal Rule of Evidence 502, the production of documents in
  26   connection with the litigation before this Court, whether inadvertent or otherwise,
  27   shall not waive any privilege or work-product protection that would otherwise attach
  28   to the documents produced in this litigation or in any other federal or state


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   1   proceeding. In addition, to the fullest extent authorized by Federal Rule of Evidence
   2   502(d), any applicable privilege or work-product protection is not waived as to
   3   anyone who is not a party to this action by disclosure connected with this action.
   4         12.2. Clawback Procedure.
   5                (a)   Upon learning of the inadvertent production of any document
   6   subject to a claim of privilege or work-product protection, the Producing Party shall
   7   promptly give all Outside Counsel of Record notice of the inadvertent production.
   8   The notice shall identify the document, the portions of the document that should not
   9   have been produced, and the first date the document was produced. If the party that
  10   produced a document claims that only a portion of the document should not have
  11   been produced, the party shall produce a new copy of the document with the allegedly
  12   privileged portions redacted.
  13                (b)   Additionally, a Receiving Party is under a good faith obligation
  14   to promptly alert the Producing Party if a document appears on its face or in light of
  15   facts known to the Receiving Party to be privileged or work product.
  16                (c)   Upon receiving notice of such a production, or upon determining
  17   that a document received is known to be privileged or work product, the Receiving
  18   Party must promptly return, sequester, or destroy the specified information and any
  19   copies it has, and shall destroy any notes that reproduce, copy, or otherwise disclose
  20   the substance of the privileged information. The Receiving Party may not use or
  21   disclose the information until the claim is resolved. If the Receiving Party disclosed
  22   the information before being notified, it must take reasonable steps to retrieve and
  23   prevent further use or distribution of such information until the claim is resolved.
  24                (d)   To the extent that any party obtains any information, documents,
  25   or communications that are subject to a claim of privilege or work-product protection
  26   through inadvertent disclosure, such privileged or work product information,
  27   documents, and communications shall not be filed or presented for admission into
  28   evidence or sought in discovery by that party in this matter.


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   1                (e)   In the event the Receiving Party disputes the assertion of privilege
   2   or work-product protection, the Parties shall meet and confer and the Receiving Party
   3   shall either: (a) return the material to the Producing Party for proper designation; or
   4   (b) present the information to the Court under seal for a determination as to whether
   5   the material is protected from disclosure.
   6   13.   MISCELLANEOUS
   7         13.1. Right to Further Relief.
   8         Nothing in this Stipulated Protective Order abridges the right of any person to
   9   seek its modification by the Court in the future.
  10         13.2. Right to Assert Other Objections.
  11         By stipulating to the entry of this Protective Order, no Party waives any right
  12   it otherwise would have to object to disclosing or producing any information or item
  13   on any ground not addressed in this Stipulated Protective Order. Similarly, no Party
  14   waives any right to object on any ground to use in evidence of any of the material
  15   covered by this Stipulated Protective Order.
  16         13.3. Filing Protected Material.
  17         A Party that seeks to file under seal any Protected Material must comply with
  18   Civil Local Rule 79-5. Protected Material may only be filed under seal pursuant to a
  19   court order authorizing the sealing of the specific Protected Material at issue. If a
  20   Party’s request to file Protected Material under seal is denied by the Court, then the
  21   Receiving Party may file the information in the public record unless otherwise
  22   instructed by the Court.
  23   14.   FINAL DISPOSITION
  24         After the final disposition of this Action, as defined in Section 5, within sixty
  25   (60) days of a written request by the Designating Party, each Receiving Party must
  26   return all Protected Material to the Producing Party or destroy such material. As used
  27   in this subdivision, “all Protected Material” includes all copies, abstracts,
  28   compilations, summaries, and any other format reproducing or capturing any of the


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   1   Protected Material. Whether the Protected Material is returned or destroyed, the
   2   Receiving Party must submit a written certification to the Producing Party (and, if
   3   not the same person or entity, to the Designating Party) by the 60-day deadline that
   4   (1) identifies (by category, where appropriate) all the Protected Material that was
   5   returned or destroyed and (2) affirms that the Receiving Party has not retained any
   6   copies, abstracts, compilations, summaries or any other format reproducing or
   7   capturing any of the Protected Material. Notwithstanding this provision, Outside
   8   Counsel of Record are entitled to retain an archival copy of all pleadings; motion
   9   papers; trial, deposition, and hearing transcripts; legal memoranda; correspondence;
  10   deposition and trial exhibits; expert reports; attorney work product; and consultant
  11   and expert work product, even if such materials contain Protected Material. Any such
  12   archival copies that contain or constitute Protected Material remain subject to this
  13   Protective Order as set forth in Section 5.
  14   15.   VIOLATIONS
  15         Any violation of this Stipulated Order may be punished by any and all
  16   appropriate measures including, without limitation, contempt proceedings and/or
  17   monetary sanctions.
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   1   IT IS SO STIPULATED THROUGH COUNSEL OF RECORD
   2   Dated: October 18, 2024                   LATHROP GPM LLP
   3

   4                                             By:/s/ Eric D. Sidler
                                                    Eric D. Sidler
   5
                                                 Attorneys for Plaintiff KB Home
   6

   7
       Dated: October 18, 2024                   DORSEY & WHITNEY LLP
   8

   9
                                                 By:/s/ Brett Foster
  10                                                Brett Foster
  11                                             Attorneys for Defendants Kingsbarn
  12
                                                 Realty Capital, LLC; KB Exchange
                                                 Properties, LLC; Kingsbarn Real Estate
  13
                                                 Capital, LLC; KB Property Advisors,
                                                 Inc.; and KB Property Advisors, LLC
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   1                    ATTESTATION REGARDING SIGNATURES
   2         Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), I hereby attest that all parties, on
   3   whose behalf this filing is jointly submitted, concur in this filing’s content and have
   4   authorized its filing.
   5

   6
       Dated: October 18, 2024
   7

   8                                                By: /s/ Eric D. Sidler
                                                       Eric D. Sidler
   9                                                   Attorneys for Plaintiff KB Home
  10

  11   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  12

  13   Dated: October 21, 2024
                                                    Maria A. Audero
  14                                                UNITED STATES MAGISTRATE
                                                    JUDGE
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   1                                         EXHIBIT A
   2            ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND
   3           I,   ________________________________________                 [full   name],   of
   4   ______________________________ [address], declare under penalty of perjury that
   5   I have read in its entirety and understand the Stipulated Protective Order that was
   6   issued by the United States District Court for the Central District of California on
   7                  [date] in the case of KB Home v. Kingsbarn Realty Capital, LLC, et al.,
   8   No. 2:24-CV-4153-CBM (MAAx) (C.D. Cal.). I agree to comply with and to be
   9   bound by all the terms of this Stipulated Protective Order, and I understand and
  10   acknowledge that failure to so comply could expose me to sanctions and punishment
  11   in the nature of contempt. I solemnly promise that I will not disclose in any manner
  12   any information or item that is subject to this Stipulated Protective Order to any
  13   person or entity except in strict compliance with the provisions of this Stipulated
  14   Protective Order.
  15           I further agree to submit to the jurisdiction of the United States District Court
  16   for the Central District of California for the purpose of enforcing the terms of this
  17   Stipulated Protective Order, even if such enforcement proceedings occur after
  18   termination          of        this       action.        I           hereby       appoint
  19   ________________________________________                     [full        name]        of
  20   ______________________________ [address and telephone number] as my
  21   California agent for service of process in connection with this action or any
  22   proceedings related to enforcement of this Stipulated Protective Order.
  23   Signature:                                            __________________________
  24
       Printed Name:                                         __________________________
  25
       Date:                                                 __________________________
  26

  27   City and State Where Sworn and Signed:                __________________________

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